     Case 1:20-cv-11641-RGS Document 24 Filed 10/28/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 BOSTON BIT LABS, INC., d/b/a BIT BAR
 SALEM, a Massachusetts corporation,
                                                          Civil Action No. 1:20-cv-11641
                       Plaintiff,
        v.
 CHARLES D. BAKER, in his official                            NOTICE OF APPEAL
 capacity as Governor of the Commonwealth
 of Massachusetts,
                       Defendant.

       Plaintiff Boston Bit Labs, Inc. d/b/a Bit Bar Salem (“Bit Bar”) hereby gives notice that it

appeals to the United States Court of Appeals for the First Circuit from the Orders (Dkt. Nos. 22 &

23) dated October 28, 2020, and judgment thereon, and all other interlocutory orders and other rulings.




       Dated: October 28, 2020               Respectfully Submitted,

                                             /s/ Jay M. Wolman
                                             Marc J. Randazza, BBO# 651477
                                             mjr@randazza.com, ecf@randazza.com
                                             Jay M. Wolman, BBO# 666053
                                             jmw@randazza.com, ecf@randazza.com
                                             RANDAZZA LEGAL GROUP, PLLC
                                             30 Western Avenue
                                             Gloucester, MA 01930
                                             Tel: (978) 801-1776
                                             Attorneys for Plaintiff
                                             Boston Bit Labs, Inc.




                                                -1-
                                          Notice of Appeal
     Case 1:20-cv-11641-RGS Document 24 Filed 10/28/20 Page 2 of 2



                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing and paper copies will be
sent to those indicated as non-registered participants on October 28, 2020.

                                              /s/ Jay M. Wolman
                                              Jay M. Wolman




                                                 -2-
                                           Notice of Appeal
